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IN THE UNITEI) sTATEs DIsrRICr Colm.'co m __j@_ D_C,
FoR THE wEsTERN DISTRICT oF TENNESSEE

 

wEsTERN DIvIsIoN 05 JUL 26 PH |: 2c
UNlTED sTATES oF AMERICA, *
Plaintiff, *
v. * Cr. Nos. 05-20076-13 & 05-20077-13
~__.i=_
RiTA WILLIAMSON, *
Defendant. *

 

ORDER GRANTING MOTION TO SEVER AND TRANSFER CAUSES

 

Upon motion of the defendant, and Without objection by the United States, the defendant’s
motion to sever and transfer the above-referenced causes is hereby GRANTED.
This Honorable Court Will hereby sever Ms. Wi]liamson from Case Nos. 05-20076 and 05-

20077 pending before the Court and transfer those causes to the chambers of the Honorable Bemice

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Donald.

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UNITED SATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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This notice confirms a copy ofthc document docketed as number 58 in
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Honorable Bernice Donald
US DISTRICT COURT

